Case 1:19-cv-22908-MGC Document 8 Entered on FLSD Docket 07/19/2019 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                CASE NO.: 1:19-CV-22908-MCG


 QUEENS HOSPITALITY, a Florida
 limited liability company,

 Plaintiff,

          v.

 BREAKFAST BITCH LLC, a
 California limited liability company,

 Defendant.
                                                        /

                                    NOTICE OF APPEARANCE

          The undersigned hereby files this Notice of Appearance as counsel for the Plaintiff,

 QUEENS HOSPITALITY, a Florida limited liability company in the above-styled matter.

          The clerk of the above-styled court is requested to enter this notice of record.

 Dated:          July 19, 2019

                                                            Respectfully submitted,

                                                            By: /s/ Christopher A. DiSchino
                                                                 Christopher A. DiSchino, Esq.
                                                                 Florida Bar No. 084127
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                                                    1
Case 1:19-cv-22908-MGC Document 8 Entered on FLSD Docket 07/19/2019 Page 2 of 2




                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on July 19, 2019, I electronically filed the foregoing with the

 Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to

 the following:

        Defendant,
        Breakfast Bitch LLC
        c/o Legalzoom.com, Inc.
        101 N. Brand Blvd., 11th Floor
        Glendale, CA 91203

                                                          /s/ Christopher A. DiSchino
                                                          Christopher A. DiSchino, Esq.
                                                          Florida Bar No. 084127
                                                          DiSchino & Schamy, PLLC
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